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LaMONICA HERBST & MANISCALCO, LLP | Hearing Date: January 18, 2022 at 2:00 p.m.
3305 Jerusalem Avenue
Wantagh, New York 11793
Telephone: 516.826.6500 Sake Boos aS
Gary F. Herbst, Esq. Saw BA uy eRe
Jacqulyn S. Loftin, Esq.
JAN 44 2022
UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

x
In re: Chapter 11
BOUCHARD TRANSPORTATION CoO., INC., et al., Case No. 20-34682 (DRJ)

(Jointly Administered)
Debtors.
K

 

RESPONSE OF HAFNIA TANKERS SHIPHOLDING MALTA LTD. TO THE
DEBTOR’S FIRST OMNIBUS OBJECTION TO CERTAIN PROOFS OF CLAIMS
(AMENDED CLAIMS, DUPLICATIVE CLAIMS, INSUFFICIENT DOCUMENTATION
CLAIMS, LATE FILED CLAIMS, NO LIABILITY CLAIMS,

AND SATISFIED CLAIMS)

TO: THE HONORABLE DAVID R. JONES

CHIEF UNITED STATES BANKRUPTCY JUDGE:

Hafnia Tankers Shipholding Malta Ltd. (“Claimant”), by its attorneys, LaMonica Herbst
& Maniscalco, LLP, submits this response (“Response”) to the first omnibus objection (“Omnibus
Objection”) to certain proofs of claim (amended, claims, exact duplicate claims, insufficient
documentation claims, late filed claims, no liability claims, satisfied claims) of the jointly

administered debtors, Bouchard Transportation Co., Inc., et al. (“Debtors”), to the claims filed by

 

Claimant as follows: (collectively, the “Claims”), and respectfully represents a follows:
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CLAIMANT’S RESPONSE TO DEBTOR’S OMNIBUS OBJECTION

1. On or about April 7 and April 8, 2021, Claimants filed timely claims in the
respective Debtor estates each asserting a general unsecured claim in the amount of $655,320. As
set forth more fully in the declaration of Edward Keane, Esq., on behalf of the Claimants
(“Declaration’’), each of the Claims were filed on account of a maritime accident that occurred on
March 31, 2018 at NuStar’s Linden New Jersey Terminal (““Nustar’’) and its loading marine arm
and the Claimant’s maritime vessel, Hafnia Kirsten (““Hafnia”). A copy of the Declaration is
annexed as Exhibit “A”.

2. Specifically, on March 31, 2018 the tanker vessel, Hafnia, owned and operated by
the Claimant suffered an allision with the dock and associated area of the Nustar Terminal’s
berthing facility at Linden, New Jersey. The allision caused damage to the loading arm of the crane
used by the Nustar’s terminal to maneuver large hoses employed in loading and discharging sizable
ocean-going tankers, such as the Hafnia. The allision was captured on CCTV owned by Nustar
and it graphically shows the Hafnia and another vessel moored stern to its bow violently lifted and
tossed shoreward into the dock and nearby loading crane by surging water. The entire complement
of both ships can be seen rushing to the deck in the dead of night to try to assess the situation and
no doubt in fear of their own safety. As a result, the Nustar Terminal’s crane arm had to be
removed, taken to Georgia for repair and then returned and re-installed and the Hafnia vessel
incurred substantial damage. See Exhibit “A”.

3. On or about June 22, 2021, the Debtors filed the Omnibus Objection, in which the
basis for the Debtors to object to the Claimant’s Claims was “insufficient documentation”. See
Omnibus Objection, p. 8, P 18. In the Omnibus Objection, the Debtors assert that the necessary

parties have thoroughly reviewed the claims register, the relevant proofs of claim, the Debtors’
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books and records and have determined that each of the insufficient documentation claims,
including, the Claimant’s Claims, failed to include sufficient information or supporting
documentation to allow the Debtors to ascertain the validity of the claims listed in the Omnibus
Objection. Jd. This was the only basis in which the Debtors objected to the Claims. The Debtors
never filed a substantive objection to the Claims.

4. It worth noting, however, that the Debtors were certainly aware of these Claims
since shortly after the date of the accident, the Debtors were involved in the survey of damage
from the outset. The Debtors’ appointed maritime surveyors attended the crane arm at various
stages (e.g. while it was dismantled, prepared to be moved for repairs in Georgia, repaired and
reinstalled in New Jersey). The Debtors’ maritime counsel, Freehill Hogan & Mahar, LLP, also
appointed another expert, which Claimants believed to be a mechanical engineer. Moreover, the
Debtors, through their maritime counsel were also provided with CCTV video of the surging
damage to the Hafnia and the passing tug and barge unit alleged to be the Debtors’ maritime
vessels. Various emails and calls were exchanged regarding the Claimant’s claim between
maritime counsel for the Claimant and the Debtor, all of which left no doubt that the Debtors were
fully aware of the basis for the Claims and their details as more fully explained in the Declaration.
See Exhibit “A”.

5. Since filing the Omnibus Objection, the Debtors and the Claimants, through
counsel, have been in communication in an effort to resolve these objections in an efficient
manner. Prior to the confirmation of the Debtors’ Joint Plan of Pursuant to Chapter 11 of the
Bankruptcy Code (“Plan’’) [dkt no. 988], the Claimants were communicating with the Debtors’
general counsel, Kirkland & Ellis LLP. The parties had extensive communications about the

Claims for months, and more specifically the Claimants, through bankruptcy counsel, provided
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Debtors’ general counsel with the same documentation in support of the Claims that was provided
to the Debtors prior to the bankruptcy filing. Indeed, on July 2, 2021, the Claimant’s bankruptcy
counsel forwarded to the Debtors’ general counsel all the email correspondence between the
parties in support of the Claims that occurred prior to the bankruptcy filing. A copy of the
extensive correspondence between the Debtors and the Claimants, through their retained
professionals, is annexed as Exhibit “1” of the Declaration.

6. After providing the supportive documentation to the Debtors’ general counsel, the
Claimants never received a written response challenging the adequacy of the information
provided. Moreover, despite the many follow-ups by Claimant’s counsel throughout July, August,
and September, 2021, the Debtors counsel never requested any further documentation regarding
the Claims, nor did they make any additional inquiries as to the information provided. Moreover,
while the information was under review, the hearing on the objection to the Claims was
continuously adj ourned.

7. After the confirmation of the Plan, the Claimant was advised that local counsel,
Jackson Walker, LLP, would now be handling the post-confirmation services on behalf of the
Debtors, including, the pending Omnibus Objection. The Claimant followed-up with Debtors’
local counsel to obtain an update about the allowance of the Claims.

8. Then on October 21, 2021, at the request of local counsel, the Claimants re-sent the
same documentation in support of the Claims in an effort to resolve the pending objection. The
Claimants have now been advised by local counsel that they intend to move forward with the
objections to the Claims. Again, Claimants have not been provided with any substantive basis for

the objections.

9. The burden-shifting framework for objections to claims filed under the Bankruptcy
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Code is well-settled. Under Bankruptcy Code section 502(a) a proof of claim “is deemed allowed,
unless a party in interest ... objects.” Federal Rule of Bankruptcy Procedure 3001 states that “[a]
proof of claim executed and filed in accordance with these rules shall constitute prima facie
evidence of the validity and amount of the claim.” Fed. R. Bankr. P. 3001(f); Un re Heisler,
2021 Bankr LEXIS 2218 [Bankr ED La Aug. 13, 2021, No. 20-11509]) (‘Ifa proof of claim has
prima facie validity, the objecting party must produce sufficient evidence to overcome the proof
of claim’s prima facie validity.”); Jn re Today’s Destiny, Inc., 2008 Bankr. LEXIS 3577, 2008 WL
5479109, at *4 (citing 11 U.S.C. § 502(a); In re Armstrong, 320 B.R. 97, 102-03 (N.D. Tex.
2005)). “The objecting party must put forth evidence at least equal in probative force to that
offered by the proof of claim and which, if believed, would refute at least one of the allegations
that is essential to the claim’s legal sufficiency.” Jd. (internal quotations and citations omitted).
Thus, “[mJere allegations, unsupported by evidence, are insufficient to rebut the [claimant's] prima
facie case.” Toma Steel Supply, Inc. v. TransAmerican Natural Gas Corp. (In re TransAmerican

Natural Gas Corp.), 978 F.2d 1409, 1416 (Sth Cir. 1992).

10.__—s In this instance, the Claimant has put forth substantial information to make a prima
facie case for the validity of its Claims. See Exhibit “A”. The burden now shifts back to the
Debtors, as the objecting parties, to put forth sufficient evidence to refute such Claims. The
Debtors have failed to provide the Claimant any support or basis to refute the Claims during the

many months of informal discovery.

11. Despite having knowledge and information about the Claims, the only position the
Debtors have taken is that the Claimant failed to provide sufficient information. Yet, the Claimants
provided such information to maritime counsel prior to the bankruptcy proceeding, and then to

bankruptcy counsels in July, 2021 and again in October, 2021. See Exhibit “1” of the Declaration.
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The Claimants have never been provided with a substantive basis for the objections to the Claims.
12. Accordingly, the Omnibus Objection as it pertains to the Claims should be denied,

and the Claims should be deemed allowed general unsecured claims in the respective Debtor

estates.

13. No previous request for the relief sought herein has been made to this or any other

Court.

WHEREFORE, that the Omnibus Objection as it pertains to the Claims should be denied,
and the Claims should be deemed allowed general unsecured claim in the respective Debtor

estates, and for such other, further and different relief as this Court deems just and proper.

Dated: January 11, 2022 Respectfully submitted,
Wantagh, New York

LaMONICA HERBST & MANISCALCO, LLP
Counsel to Hafnia Tankers Shipholding Malta Ltd.

By: _s/Jacqulyn S. Loftin
Jacqulyn S. Loftin, Esq.
3305 Jerusalem Avenue, Suite 201
Wantagh, New York 11793
Tel: 516.826.6500
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Exhibit "A"
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

Xx

 

In re: Chapter 11

BOUCHARD TRANSPORTATION CO., INC., et al., Case No. 20-34682 (DRJ)

(Jointly Administered)

Debtors.

 

Xx

DECLARATION OF EDWARD A. KEANE IN SUPPORT OF HAFNIA TANKERS
SHIPHOLDING MALTA LTD. RESPONSE TO THE DEBTOR’S FIRST OMNIBUS
OBJECTION TO CERTAIN PROOFS OF CLAIMS (AMENDED CLAIMS, DUPLICATIVE
CLAIMS, INSUFFICIENT DOCUMENTATION CLAIMS, LATE FILED
CLAIMS, NO LIABILITY CLAIMS, AND SATISFIED CLAIMS)

TO: THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

I, Edward A. Keane, hereby affirm, under the penalty of perjury, as follows:
1, I am a partner in the law firm Mahoney & Keane, LLP, and duly admitted to

practice law in the courts of New York and New Jersey, as well as inter alia the Federal District
courts in the Southern District of New York, Eastern District of New York and District of New
Jersey. I have been involved, as counsel, for the subject Claimant! concerning the casualty
involving the Claimant’s tanker vessel, Hafnia, and a crane since on or about the date of the
allision. As such I am fully familiar with the matters referred to below.

2. On March 31, 2018 the tanker vessel, Hafnia, owned and operated by the Claimant,
Hafnia Tankers Shipholding Malta Ltd. suffered an allision with the dock and associated area of

the Nustar Terminal’s berthing facility at Linden, New Jersey. The allision caused damage to the

 

' Capitalized terms not otherwise defined herein shall have the definition ascribed to them in the Response.
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loading arm of the crane used by the Nustar’s terminal to maneuver large hoses employed in
loading and discharging sizable ocean-going tankers, such as the Hafnia.

3. The allision was captured on CCTV owned by Nustar and it graphically shows the
Hafnia and another vessel moored stern to its bow violently lifted and tossed shoreward into the
dock and nearby loading crane by surging water. The entire complement of both ships can be seen

rushing to the deck in the dead of night to try to assess the situation and no doubt in fear of their

own safety.
4. Both vessels had been still in quiet waters moments before the allision.
5. The most obvious cause of the sudden surging water and upheaval of two very large

ships was the negligent navigation of a tug and barge unit which passed the berth at the time of the
surging, both too close and too fast for those waters. That flotilla was made up of the tug Jane A.
Bouchard and its tow, Barge B. 225, which were operated, managed and manned by the Debtors.
The negligent nature of the navigation of the tug and barge was subsequently further confirmed by
reviewing US Coast Guard GPS data concerning the flotilla’s action, which data demonstrate both
the excessively close passing and high rate of speed of the offending Debtor vessels.

6. Due to the allision, Nustar advised both the Claimant, as well as the Debtors, that
the loading crane arm of the terminal’s shore crane had suffered extensive damage and invited
both parties, the Claimant and Debtors, to attend a joint survey of the damage.

7. After the accident, but prior to the bankruptcy filing, the Debtors retained Freehill
Hogan & Mahar (“FHM”), a well-respected New York Maritime counsel to represent their
interests. Although a number of attorneys at that firm were involved at various stages Mr. Wayne

Mechan, Esq. was principally involved.
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8. In one email responding to Nustar’s notice of survey, Mr. Meehan advised that his
firm had appointed a surveyor to assess damages See Exhibit «p>, email correspondence dated
Aug.8, 2018. The appointed surveyors, Martin & Ottaway (“M&O”), attended the initial damage
survey and many others that followed as the loading arm of the shore crane had to be taken to
Georgia for repairs and then returned and reinstalled. That process took about one year to complete.

9, While M&O did not attend every survey they did, in my estimation, attend all
important surveys. Equally as important The Debtors’ maritime counsel, FHM also appointed an
expert in maritime casualties, London Offshore Consultants (“LOC”), which is another well
regarded marine engineering/consulting firm often involved in forensic matters.

10. At all times, FHM, M&O and LOC, as the Debtors’ representatives, were fully
involved in the matter and well knew the reasons for the Debtors’ involvement. Specifically, that
the Claimant, as well as Nustar were seeking to recover damages for the maritime vessel incident
that occurred on March 31, 2018, due to the asserted negligent navigation of the Debtors’ flotilla
of the tug Jane A. Bouchard and Barge B. 225.

11. The undersigned had many correspondences and several conversations with
counsel at FHM concerning the claim for indemnity that the Claimant was asserting and, indeed,
requested security for the claim from the Debtors.

12. | Moreover, I hand delivered a copy of the CCTV footage of the casualty at the
request of FHM. That and the general statements made herein are graphically demonstrated by the
various emails to and from the undersigned and FHM on the subject of the Claimant’s Claims
against the Debtors. A copy of the extensive correspondence is annexed as Exhibit “1”.

13. There were, however, other communications between the undersigned and FHM in

which the Claim, which is now at issue, was fully discussed and acknowledged by FHM. We
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provide only a sampling as we see the issue as too clear to require more, but should the Court
desire we can provide all written correspondence of relevance.

I declare under the penalty of perjury that the foregoing statements are true and correct.
Dated: January 11, 2022

New York, New York

s/ Edward A. Keane
Edward A. Keane
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Exhibit "1"
Case 20-34682 Document 1408 Filed in TXSB on 01/14/22 Page 13 of 21

 

From: Ed Keane

To: W it

Subject: FW: NuStar Linden, New Jersey Terminal - Altision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar 2018
Date: Wednesday, June 30, 2021 4:22:52 PM

-----' Original Message-----

From: MEEHAN, WAYNE [ :ME!

Sent: Thursday, May 31, 2018 6:29 PM

To: Edward Keane <ekeane@ mahoneykeane.com>

Ce: FITZGERALD, DANIEL <Fitzgerald@FREEHILL.COM>

Subject: Re: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA
KIRSTEN; DOL 31 Mar 2018

 

Thanks Ed - we got it. Will call you tomorrow about the security,

Wayne D. Meehan
Freehill Hogan & Mahar
80 Pine Street

New York, NY 10005
Office, 212-425-1900
Mobile 917-744-6562

On May 31, 2018, at 18:03, Edward Keane
<ekeane@mahoneykeane.com<mailta:

 

Guys,

For good order I confirm I dropped off a thumb drive today at your office
(messenger center), If you don't have it let me know.

Also, | look forward to your views on providing security without the need
for legal proceedings.

Best regards,

‘Ed

Edward A. Keane
Mahoney & Keane, LLP

61 Broadway, Suite-905
New York, New York 10006

Telephone: 212-385-1422
Mobile: 917-767-7869
Fax: ‘212-385-1605

From: MEEHAN, WAYNE [f : A
Sent: Wednesday, May 30, 2018 5: 46 PM

To: Edward Keane <ekeane@mahoneykeane,com<1 : e
Subject; RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAENIA
KIRSTEN; DOI: 31 Mar 2018

 
 

 
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Ed,

My apologies on the security front. I will reach out to the club in the
morning and let you know.

Wayne

WAYNE D. MEEHAN | FREEHILL HOGAN & MAHAR LLP
80 Pine Street, New York, N.Y. 10005-1759

Tel: 212-425-1900 | Fax: 212-425-1901

Direct: 212-381-301 1] Cell: 917-744-6562

E-mail]: meehan@freehill.com<mailto;c¢

 

From: Edward Keane [mailto:ekeane@mahonevkeante,com]

Sent: Wednesday, May 30, 2018 5:14 PM

To: FITZGERALD, DANIEL; MEEHAN, WAYNE

Subject: RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA
KIRSTEN; DOI: 31 Mar 2018

Dan/Wayne,
I refer to the above referenced matter.

With my limited techno skills I have finally moved 14 files, which I believe
to be all of the video footage provided to me by NuStar, to a thumb drive. I
wiil drop it off or see it dropped off tonight or tomorrow at your

building's security desk and with luck it will be viewable to you as well
once in hand. I will confirm once that is done.

I will be chased very soon by my.side on the issue of security, I would
appreciate your views on same as soon as possible. Thanks.

Best regards,

Ed

Edward A. Keane
Mahoney & Keane, LLP

61 Broadway, Suite 905
New York, New York 10006

Telephone:.212-385-1422

Mobile: 917-767-7869

Fax: 212-385-1605

From: FITZGERALD, DANIEL [mailto:Fitzgerald@EREEHILI
Sent: Tuésday, May 22, 2018 2:00 PM

To: Edward Keane <ekeane@mahoneykeane.com<mailta:e

    
 

@

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MEEHAN, WAYNE <MEEHAN@FREEHILL.COM<mailto: MEEHAN@EREEHILL,COM>>

Subject: RE; NuStar Linden, New Jerséy Terminal - Allision by Vessel HAFNIA
KIRSTEN; DOI: 31 Mar 2018 |

Ed-

We note the below. Wayne has been out of the office but I will bring this
matter to his attention later this week upon his return.

 
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In the meantime, has NuStar provided you with a survey or any records in
support of the alleged damage? If so, please forward. We have not received
anything from NuStar. Also, our paralegal could not download the video
footage from the provided link. Can NuStar provide us with a copy of the
video footage on a compact disk for viewing?

DANIEL J. FITZGERALD | FREEHILL HOGAN & MAHAR LLP

80 Pine Street, New York, N.Y. 10005-1759

Tel: 212-425-1900 | Direct: 212-381-3047 | Fax: 212-425-1901 | E-mail:
fitzgerald@freeh ill.com<mailto:fitzgerald@freehi >

From: Edward Keane [, fa:
Sent: Tuesday, May 22, 2018 1:05 PM

To: FITZGERALD, DANIEL; MEEHAN, WAYNE

Subject: RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA
KIRSTEN; DOT: 31 Mar.2018

 

Dan/Wayne,

Tn the above, I have been asked by the Owner of the Hafnia Kristen and its P
& I Club, Britannia, to obtain security from Bouchard Transportation for

the damages allegedly experienced by the NuStar terminal on March 31, 2018,
estimated to be about $900,000.00. NuStar claims its equipment was damaged
by the Hafnia Kristen, which, in turn, claims indemnity from Bouchard. 1
have suggested trying to reach an agreement regarding security and so I

write.

Please call to discuss or provide your comments concerning same at your
earliest opportunity.

Thanks and best regards,
Ed

Edward A. Keane
Mahoney & Keane, LLP

61 Broadway, Suite 905 _
New York, New York 10006

Telephone: 212-385-1422
Mobile: 917-767-7869
Fax; 212-385-1605

 

 

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confidential, and is intended only for the use of the individual named above

 
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Thank you,

 

 
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From: Ed Keane
To: "Ed Keane”
Subject: FW: Re: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar 2018

Date: Wednesday, June 30, 2021 4:20:52 PM

 

From: Edward Keane [mailto:ekeane@ mahoneykeane.com]

Sent: Wednesday, July 11, 2018 4:58 PM

To: 'MEEHAN, WAYNE' <MEEHAN@FREEHILL.COM>

Subject: Re: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar
2018

Wayne
W/O Prejudice

I think the below is what was read previously.

Description of Damage: Damage sustained to marine loading arm unit, bent arm
structure, bent connection joint and leaking swivel joints.

Damage sustained to various other dock equipment

including electrical power controller for loading arm, pipe

support, electrical conduit, handrailing and misc. piping.

Damage sustained to dock gangway, severed in two pieces

with various crushed/torn members and numerous torn

gangway treads.

Nature of Repairs: Complete replacement of loading arm and hydraulics (likely
required as current hydraulic system incompatible).

General repair, testing & assessment of misc. damages.

Complete replacement of gangway unit.

Status of Repairs: Emergency temporary repairs effected.

Estimated time for permanent repairs: 9 months

Estimated Cost of Repairs: Permanent Repairs: USD 600,000.00

Temporary Repairs: USD 300,000.00

Edward A. Keane
Mahoney & Keane, LLP

61 Broadway, Suite 905
New York, New York 10006

Telephone: 212-385-1422
Mobile: 917-767-7869
Fax: 212-385-1605

 
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From: Ed. Keane

Tas wEd Keane®

Subject: FW: NuStar Linden, New Jersey Terminal - Allision by Vesse] HAFNIA KIRSTEN; DOE: 31 Mar 2018
Date: Wednesday, June 30, 2021 4:23:35 PM

 

 

From: MEEHAN, WAYNE [mailto: MEEHAN @FREEHILL.COM]

Sent: Wednesday, August 08, 2018 5:11 PM

To: Weigel, Alan M. <aweigel@BlankRome.com>; Edward Keane <ekeane@mahoneykeane.com>

Ce: Letourneau, Keith <KLetourneau@BlankRome.com>; FITZGERALD, DANIEL <Fitzgerald@FREEHILL.COM>; Kyle Antonini
<kantonini@martinottaway.com>; Patrick Darjon <p,darjon@loc-group.com>

Subject: RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOt 31 Mar 2018

Alan,

With reference to your email of August 2 inviting us to participate in’an inspection of the loading arm, we accept your invitation to
‘participate, The following are the contact details for the representatives who will be intending the inspection on our behalf. We ask that
you have your representative contact them directly to make the necessary arrangements.

Kyle Antonini
Martin Ottaway
Tel: 732 224 1133
Cel}: 908 568 7869

Patrick Darjon
_London Offshore Consultants
Tel: 281 987 7400

Cell: 281.678 7642

Hf there are any plans or documentation which is going to be referenced during the inspéctions, we would appreciate it if you would
provide us (and our-representatives) with copies in advance.
We look forward to hear from you,

Best regards,

Wayne

WAYNE D. MEEHAN | FREEHILL HOGAN & MAHAR LLP
80 Pine Street, New York, N.Y. 10005-3759

el: 212-425-1900| Fax: 212-425-190}

Direct: 212-381-301 1] Cell: 917-744-6562

E-mail: meehan@ifreehill. com

 

From: Welgel, Alan M. [malltaweigel@BlankRome.com]

Sent: Thursday, August 02, 2018 4:15 PM

To: Edward Keane; MEEHAN, WAYNE

“Cet Letourneau, Kelth} FITZGERALD, DANIEL a
Subject: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar 2018

Gentlemen.

We have been advised that the loading arm manufacturer's rep will be attending NuStar’s Linden NJ terminal.on August 22 or 23 to
decide whether the loading arm can be repaired or whether it needs to be replaced. You are invited to attend. | will provide further
details'as soon as Lhave them. Please let us know who will be attending for the vessel and the tug interests.

Best regards,

Alan.M, Welgel | Blank Rome LLP
‘The Chrysier Building 405 Lexington Avanud | New York, NY 10174-0208 .
Prone: 212,885,5350 I Fax: 917,332,3836 | Cell: 860.334.7431 | Email: AWeigel@SiankRome.com

 
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AGO OO IORI IDS ITO ER Ii ICR Ot IO Io I OI aa ip RS aio IB ioini dak dO i ak do Oni tesla ie tee ate

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From: Ed Keane

To: "Ed Keane"

Subject: FW: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar 2018-- Braemar Ref.
325838

Date: Wednesday, June 30, 2021 4:19:48 PM

 

From: MEEHAN, WAYNE [mailto: MEEHAN @FREEHILL.COM]

Sent: Tuesday, January 08, 2019 3:00 PM

To: 'Weigel, Alan M.' <aweigel@BlankRome.com>; Edward Keane <ekeane@mahoneykeane.com>
Ce: KLetourneau@BlankRome.com; FITZGERALD, DANIEL <Fitzgerald@FREEHILL.COM>;
bobby.surendra@braemar.com; Patrick Darjon <p.darjon@|oc-group.com>

Subject: RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31 Mar
2018-- Braemar Ref, 325838

Dear Alan,
Our experts are also looking for a specific date.

Also, we are still looking for the documents which we requested earlier. We previously advised that
‘our experts need thase documents to perform a full and fair analysis and look forward to receipt of
those documents before any further inspectioris so that cur people can fairly comment on the
reasonableness of your decisions regarding mitigation of this lass.

Regards,
Wayne

P.S, | have copied our expert (Patrick Darjon) so that he will be a aware of the dates for any
inspections.

WAYNE D. MEEHAN | FREEHILL HOGAN & MAHAR LLP
80 Pine Street, New York, N.Y. 10005-1759

Tel: 212-425-1900 | Fax: 212-425-1901

Direct: 212-381-3011] Cell: 917-744-6562

E-mail: meehan@freehill.com

From: Edward Keane [mailto:ekeane@mahoneykeane.com|]
Sent: Tuesday, January 08, 2019 2:23 PM
To: ‘Weigel, Alan M.'
Ce: KLetourneau@BlankRome.com; MEEHAN, WAYNE; FITZGERALD, DANIEL;
fr F e ¥r.co
Subject: RE: NuStar Linden, New Jersey Terminal - Allision by Vessel HAFNIA KIRSTEN; DOI: 31
Mar 2018-- Braemar Ref, 325838

 

 
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Dear Alan,
Happy New Year to you.

In the above, we on behalf of the Owner of the M/V Hafnia Kirsten, have appointed Capt.
Bobby Surendra of Braemar Technical Services, Inc.’s New Orleans office to attend the
inspection of the disassembled Linden loading arm at North Winds Shop, 12520 Glasscock
Rd, Gulfport, MS 39501.

Capt. Surendra’s, who reads in copy, contact details are below or if more information is
needed it may be found at the provided website link.

Captain Bobby Surendra
Principal Surveyor - New Orleans
Mobile: 504 259 3643
www.braemartechnical.com

We mention we still need a specific date for the inspection. Additionally, we continue to
request the repair documents that exist concerning the subject casualty.
Should there be any question please also feel free to contact the undersigned.

Thank you and best regards,

Ed

Edward A. Keane
Mahoney & Keane, LLP

61 Broadway, Suite 905
New York, New York 10006

Telephone: 212-385-1422
Mobile: 917-767-7869
Fax: 212-385-1605

 

 

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